Case 2:01-cr-20169-SH|\/| Document 161 Filed 06/30/05 Page 1 of 2 Page|D 156

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IN'THE UNITED STATES DISTRICT COURT “” '*

FOR THE WESTERN DISTRICT OF TENNESSEE

 

WESTERN DIVISION 05 JUN 30 PH 3142
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UNITED sTATEs oF AMERICA, CLER%%§FQ;E;}MUHT
`Ht£§,'
vs. No. 01-20169-Ma

MARLAN MITCHELL,

Defendant.

 

ORDER RESETTING RE-SENTENCING DATE

 

Before the court is the defendant's June 24, 2005, motion to
reset the re-sentencing of Marlan Mitchell, which is presently
set for June 30, 2005, For good cause shown, the motion is
grented. The re-sentencing of defendant Marlan Mitchell is reset
to Monday, August 1, 2005, at 9:00 a.m.

It is so ORDERED this jovgiay of June, 2005.

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

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UNITED`S,TATES DISTRIC COURT - ESTERN DISITRCT oF TENNESSEE

   

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Honorable Samuel Mays
US DISTRICT COURT

